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                                                                  May 30, 2018


           VIA ECF

           Honorable Susan D. Wigenton
           United States District Court
           District of New Jersey
           Martin Luther King Building & U.S. Courthouse
           50 Walnut Street
           Newark, NJ 07101


                        Re:         Zimmer Durom Hip Cup Products Liability Litigation,
                                    2:09-cv-04414 (DFW)(SCM) (MDL 2158)

           Dear Judge Wigenton,

                 This firm, along with Seeger Weiss LLP, serves as Plaintiffs’ Co-Liaison
           Counsel in the above referenced litigation. We submit this letter in response to the
           recent applications for the distribution of common benefit fees and in furtherance of
           our prior letter (ECF No. 973) respectfully seeking the Court’s appointment to
           develop and administer a uniform and coherent common benefit application process
           to compensate Plaintiffs’ attorneys for costs borne and work performed for the
           common benefit of all plaintiffs and their counsel.

                  As noted in our prior letter, Plaintiffs’ Co-Liaison Counsel have experience
           establishing processes for the orderly and fair submission and review of applications
           for distributions of common benefit funds. In other cases, we have successfully
           implemented distribution and allocation processes that were transparent, fair, and
           open to all those counsel who performed work for the benefit of all claimants. If
           appointed in this case, we will strive to do the same. Our first step will be to
           establish a process with clear guidelines and instructions for all counsel who wish to
           seek common benefit funds. In our prior appointments, we have found such a
           process helpful in providing clear expectations and reducing conflict and piecemeal
           applications as have started in this case. Indeed, absent a clear and orderly
           process, individual applications submitted to the Court by all of the various
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     Plaintiffs’ attorneys will create needless conflict, delay, and disorder. Prior to
     implementation, we will submit our proposed process, along with a general
     overview of the reasoning for the proposal, to the Court for Your Honor’s review and
     approval. If acceptable to the Court, we will provide the application protocol along
     with guidelines and instructions to all counsel.

            For all of the foregoing reasons, Plaintiffs’ Co-Liaison respectfully request
     that the Court appoint them to establish an orderly and efficient process equitably
     allocating the common benefit fund.

           Thank you for your continued attention to this matter. Of course, if the
     Court has any questions, we are available at your convenience.


                                                Respectfully submitted,

                                          CARELLA, BYRNE, CECCHI,
                                       OLSTEIN, BRODY & AGNELLO, P.C.

                                                  /s/ James E. Cecchi

                                                 JAMES E. CECCHI


                                                SEEGER WEISS LLP

                                               /s/ Christopher A. Seeger

                                              CHRISTOPHER A. SEEGER



     cc:     All Counsel of Record (via ECF)



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